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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


_______________________________________
UNITED STATES OF AMERICA                )
                                       )
     v.                                 )                      Criminal No. 1:81-cr-00306 (PLF)
                                       )
JOHN W. HINCKLEY, JR.,                  )
                                       )
               Patient/Petitioner.      )
_______________________________________)


                        NOTICE OF REQUEST TO SET STATUS CALL
                         PER COURT ORDER OF OCTOBER 28, 2020

        The patient, by his counsel, respectfully requests that this Court set a date for a status call

as contemplated by the Court in its Order dated October 28, 2020. The patient has no objection

to the status call being held by electronic means.

        The aforesaid Court Order states that a status call should be set seven months from its

entry. That would put the date at the end of May, 2021. Counsel for the patient has conferred

with the AUSA who has stated that the government has no objection to such scheduling.

        Counsel for the patient respectfully requests that the status call be advanced to the earliest

date convenient for the Court. Counsel for the government does object to that. The purpose of

the patient’s request is to try to advance a hearing (if one is necessary) for an unconditional

release. The Court has received letters from the DBH by which the Court has been advised of

the decline in Mrs. Hinckley’s health. It is our hope that an order for Mr. Hinckley’s

unconditional release might be entered while Mrs. Hinckley can appreciate it. Moreover, the

DBH Review Board has had ample opportunity to assess Mr. Hinckley’s mental health in light of

his experiences pertaining to the display and sale of his art and music. The letters and reports



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reveal emphatically that his health remains as sound today as it has been for approximately 30

years.

         WHEREFORE, the patient respectfully requests that a status call be set at the earliest

time available to the Court.


Dated: April 8, 2021                               Respectfully submitted,


                                                    /s/ Barry Wm. Levine
                                                   Barry Wm. Levine (DC Bar No. 143784)
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 8th day of April 2021, I caused the foregoing Notice Of

Request To Set Status Call Per Court Order Of October 28, 2020 to be filed electronically

through the Court’s CM/ECF system, which will provide notification of such to all counsel of

record.

                                                      /s/ Barry Wm. Levine
                                                     Barry Wm. Levine (DC Bar No. 143784)




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